 Information to identify the case:

 Debtor
                Gates Community Chapel of Rochester, Inc.                                      EIN 16−1055934
                Name


 United States Bankruptcy Court Western District of New York                                   Date case filed for chapter 11 2/23/18
 Case number: 2−18−20169−PRW



Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/15

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered. This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                       Gates Community Chapel of Rochester, Inc.

  2. All other names used                     dba Freedom Village USA
     in the last 8 years

  3. Address                                  PO Box 24
                                              Lakemont, NY 14857

  4. Debtor's attorney                       Mike Krueger                                                 Contact phone 585−271−1500
     Name and address                        Dibble & Miller
                                             55 Canterbury Rd.
                                             Rochester, NY 14607

  5. Bankruptcy clerk's office                                                                            Hours open: 8:00 a.m. to 4:30 p.m.
     Documents in this case may be           100 State Street                                                         Monday − Friday
     filed at this address. You may          Rochester, NY 14614
     inspect all records filed in this                                                                    Contact phone (585) 613−4200
     case at this office or online at        Website: http://www.nywb.uscourts.gov
     www.pacer.gov.
                                                                                                          Date: 3/1/18

  6. Meeting of creditors                     March 28, 2018 at 10:00 AM                                  Location:
     The debtor's representative
     must attend the meeting to be            The meeting may be continued or adjourned to a              Office of the U.S. Trustee, 100 State
     questioned under oath.                   later date. If so, the date will be on the court docket.    Street, Room 6080, Rochester, NY
     Creditors may attend, but are                                                                        14614
     not required to do so.

                                                                                                           For more information, see page 2 >




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Debtor Gates Community Chapel of Rochester, Inc.                                                                    Case number 2−18−20169−PRW


  7. Proof of claim deadline                Deadline for filing proof of claim: Not yet set. If a deadline is set, the court will send
                                            you another notice.

                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                            at www.uscourts.gov or any bankruptcy clerk's office.

                                            Your claim will be allowed in the amount scheduled unless:
                                            • your claim is designated as disputed, contingent, or unliquidated;
                                            • you file a proof of claim in a different amount; or
                                            • you receive another notice.

                                            If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                            must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                            You may file a proof of claim even if your claim is scheduled.

                                            You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                            Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                            proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                            explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                            rights, including the right to a jury trial.


  8. Exception to discharge                 If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                               proceeding by filing a complaint by the deadline stated below.

      The bankruptcy clerk's office         Deadline for filing the complaint: 5/29/18
      must receive a complaint and
      any required filing fee by the
      following deadline.


  9. Creditors with a                       If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
     foreign address                        extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                            have any questions about your rights in this case.


  10. Filing a Chapter 11                  Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
      bankruptcy case                      court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
                                           and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                           hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                           trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                           business.


  11. Discharge of debts                   Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                           debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
                                           debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                           discharge under 11 U.S.C. § 1141(d)(6)(A), you must start a judicial proceeding by filing a complaint and
                                           paying the filing fee in the bankruptcy clerk's office by the deadline.




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